                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI

IAN SMITH,                                           )
                                                     )
                       Plaintiff,                    )
                                                     )
v.                                                   )       Case No.: 4:24-cv-00066-FJG
                                                     )
MIDWEST RESPIRATORY CARE, INC.                       )
      Serve Registered Agent at:                     )
      CSC-Lawyers Incorporating                      )
      Service Company                                )
      221 Bolivar St.,                               )
      Jefferson City, MO 63105                       )       JURY TRIAL DEMANDED
                                                     )
                       Defendant.                    )

                     FIRST AMENDED COMPLAINT FOR DAMAGES

       COMES NOW Plaintiff Ian Smith, by and through the undersigned counsel, and states

and alleges as follows for his First Amended Complaint for Damages against Defendant:

                                    NATURE OF THE CASE

       Plaintiff’s claims of discrimination arise under the Americans with Disabilities Act

(“ADA/ ADAAA”), as amended, 42 U.S.C. § 12101 et. seq. and/ or the Missouri Human Rights

Act, R.S.Mo. 213.010 et seq. (“MHRA”).

                                            PARTIES

       1.      Plaintiff Ian Smith is and, at all relevant times herein, was a male resident and

citizen of the State of Missouri.

       2.      Upon information and belief, Defendant Midwest Respiratory Care, Inc.

(“Defendant”) is a corporation organized under the laws of Nebraska, with its principal place of

business in Nebraska, registered to do business in Missouri and conducting substantial business

within Missouri.



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       3.      At all times relevant to this matter, Defendant was a citizen of the State of

Nebraska.

       4.      At all times relevant to this matter, Defendant was an “employer” as defined by §

213.010 of the Missouri Human Rights Act, R.S.Mo. § 213.010 (“MHRA”), in that Defendant is

a person engaged in an industry affecting commerce that has six or more employees for each

working day in each of twenty or more calendar weeks in the current or preceding calendar year.

       5.      At all times relevant to this matter, Defendant was an “employer” as defined by

the ADA/ ADAAA, in that Defendant is a person engaged in an industry affecting commerce

that has fifteen or more employees for each working day in each of twenty or more calendar

weeks in the current or preceding calendar year.

       6.      Defendant is an entity that acts though its agents and/or employees. It is liable for

the conduct of its agents and/or employees acting within the course and scope of their agency

and/or employment, its own negligence, the acts of its agents and/or employees which it

knowingly ratifies, injuries incurred by agents’ and/or employees’ performance of its non-

delegable duties, acts done by agents and/or employees for which the agency and/or employment

relationship allows or assists the employee and/or agent to perform, and acts its agents and/or

employees take by virtue of their position with Defendant.

       7.      At all times relevant herein, Defendant’s employees, were acting within the

course and scope of their employment and/or agency.

                                JURISDICTION AND VENUE

       8.      This Court has original subject-matter jurisdiction over this matter pursuant to 28

U.S.C. §1331, because some of Plaintiff’s claims arise under federal laws.




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       9.      Alternatively, this Court has original subject-matter jurisdiction under 28 U.S.C.

§1332 because of complete diversity between the parties and because the amount in controversy

exceeds $75,000.

       10.     This Court has general personal jurisdiction over Defendant because Defendant

conducts ongoing and substantial business in Missouri,

       11.     This Court has specific personal jurisdiction over Defendant because the unlawful

practices of Defendant and its agents and employees alleged in this Complaint were committed

in Blue Springs, Missouri.

       12.     Venue is proper in this Court because the unlawful practices alleged in this

Complaint were committed in Blue Springs, Missouri.

                                 CONDITIONS PRECEDENT

       13.     On or about March 30, 2023, Plaintiff dually filed a timely Charge of

Discrimination (“Charge”) with the Missouri Commission on Human Rights (“MCHR”) and the

Equal Employment Opportunities Commission (“EEOC”). The Charge was assigned No. E-

03/23-53135/ 28E-2023-00965. A true and accurate copy of the Charge is attached hereto and

incorporated herein by reference as Exhibit A.

       14.     On or about November 29, 2023, Plaintiff received from the MCHR the Right to

Sue Notice with respect to the Charge. A true and accurate copy of the Right to Sue Notice is

attached hereto and incorporated herein by reference as Exhibit B.

       15.     On or about December 7, 2023, Plaintiff received from the EEOC the Right to

Sue Notice with respect to the Charge. A true and accurate copy of the Right to Sue Notice is

attached hereto and incorporated herein by reference as Exhibit C.

       16.     This action is timely filed within ninety (90) days of the issuance of the Notices of



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Right to Sue (attached as Exhibits B and C).

          17.   Plaintiff has exhausted all conditions precedent to filing this action.

                                   FACTUAL ALLEGATIONS

          18.   Plaintiff has been employed with Defendant since 2020 as a Service Technician/

Driver.

          19.   In the position of a Service Technician/ Driver, Plaintiff was required to drive,

maintain a DOT card and operate equipment.

          20.   As part of the hiring process, Plaintiff had to pass a driver’s test and receive a

“good standing” DOT card.

          21.   On or about December 14, 2022, Plaintiff was diagnosed with Huntington’s

Disease.

          22.   Soon thereafter, Plaintiff informed his direct supervisor, Brent Markman, about

his Huntington’s Disease.

          23.   Huntington’s Disease affects Plaintiff’s balance and, as a result, his ability to

walk. In addition, Huntington’s Disease affects Plaintiff’s ability to take care of himself.

          24.   Huntington’s Disease did not affect Plaintiff’s ability to perform the essential

functions of his position of a Service Technician/ Driver, with or without reasonable

accommodation.

          25.   Plaintiff’s physician who diagnosed Plaintiff with Huntington’s Disease did not

express any concerns about Plaintiff's ability to drive or operate equipment.

          26.   Between 2020 and March 7, 2023, Plaintiff worked in his position of a Service

Technician, without any restrictions or accommodations.

          27.   Throughout his tenure with Defendant, Plaintiff received positive evaluations that



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did not contain any comments on his ability to drive.

        28.     On or about March 6, 2023, Mr. Markman told Plaintiff that Mr. Markman was

going to inform Markman’s supervisor, Billy Henley, about Plaintiff’s Huntington Disease.

        29.     On or about March 7, 2023, Mr. Henley called Plaintiff into his office.

        30.     Mr. Henley advised Plaintiff that Defendant did not want Plaintiff to drive

anymore because of his Huntington Disease.

        31.     As of March 7, 2023, Plaintiff’s driver’s license and DOT card were in good

standing.

        32.     As of March 7, 2023, Plaintiff’s physician did not place any restrictions on

Plaintiff’s driving or operating equipment.

        33.     When Mr. Henley told Plaintiff that Plaintiff could no longer drive for Defendant,

Plaintiff requested an accommodation of working in the warehouse.

        34.     Mr. Henley denied Plaintiff’s request for accommodation.

        35.     Defendant did not offer or provide any other accommodation for Plaintiff’s

Huntington’s Disease.

        36.     Instead, Defendant terminated Plaintiff on or about March 7, 2023.

                                          COUNT I
                                           MHRA
  Discrimination on the basis of disability and/or perceived and/or record of disability in
                employment in violation of the MHRA, R.S.Mo. § 213.055

        37.     Plaintiff incorporates by reference all the other allegations of this Complaint as if

fully set forth herein.

        38.     The MHRA prohibits discrimination against a person on the basis of his or her

disability.

        39.     Plaintiff’s Huntington’s Disease is a disability as defined by § 213.010 of the

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MHRA, in that it is a physical or mental impairment which substantially limits one or more of

Plaintiff’s major life activities, and affects Plaintiff’s brain cells, his balance, ability to walk and

affects Plaintiff’s ability to take care of himself.

        40.     Plaintiff’s Huntington’s Disease did not affect Plaintiff's ability to perform the

essential functions of his job, with or without reasonable accommodations.

        41.     Alternatively, because of Huntington’s Disease Plaintiff is being regarded as

having such a physical impairment and/or Plaintiff has a record of having such an impairment,

which with or without a reasonable accommodation does not interfere with Plaintiff performing

the essential functions of his job.

        42.     The conduct and actions of the above described perpetrators as set forth herein,

including but not limited to (i) informing Plaintiff that he could no longer perform the functions

of a Service Technician/ Driver for Defendant, despite Plaintiff’s DOT card and driver’s license

being in good standing and despite absence of any concerns or restrictions from his physician

about his ability to drive or operate equipment; (ii) failing to provide a requested reasonable

accommodation to Plaintiff of a warehouse job, (iii) failing to engaged in the interactive process

of finding another reasonable accommodation; (iv) ultimately terminating Plaintiff, constituted

discrimination against Plaintiff on the basis of his disability and/or record of disability and/or

being regarded as having such a disability.

        43.     Defendant’s actions adversely altered the terms, conditions, and privileges of

Plaintiff’s employment, including but not limited to: (i) informing Plaintiff that he could no

longer perform the functions of a Service Technician/ Driver for Defendant, despite Plaintiff’s

DOT card and driver’s license being in good standing and despite absence of any concerns or

restrictions from his physician about his ability to drive or operate equipment; (ii) failing to



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provide a requested reasonable accommodation to Plaintiff of a warehouse job, (iii) failing to

engaged in the interactive process of finding another reasonable accommodation; and (iv)

ultimately terminating Plaintiff constituted discrimination against Plaintiff on the basis of his

disability and/or record of disability and/or being regarded as having such a disability.

        44.      Plaintiff’s disability and/or record of disability and/or being regarded as having

such a disability was a motivating factor in the discriminatory conduct he suffered and

experienced, in that it actually played a role in and had a determinative influence in any of

Defendant’s conduct, as alleged herein.

        45.      Defendant’s actions against Plaintiff have caused him pain, anguish, anxiety and

distress, as well as lost income.

        46.      The actions and conduct of Defendant set forth herein were outrageous and

showed an evil motive or reckless indifference or conscious disregard for the rights of Plaintiff,

and therefore Plaintiff is entitled to punitive damages to punish Defendant and to deter

Defendant and others from like conduct.

        WHEREFORE, Plaintiff prays for judgment against Defendant on Count I of his

Complaint for Damages, for a finding that he has been subjected to unlawful discrimination

prohibited by R.S.Mo. § 213.010 et seq.; for an award of compensatory and punitive damages;

for an award of back pay; for reinstatement or an award of front pay; for his costs expended, for

his reasonable attorneys’ fees; and for other and further relief the Court deems just and proper.

                                       COUNT II
              ADA/ADAAA – Discrimination, in violation of 42 U.S.C. § 12101 et seq.

        47.      Plaintiff hereby incorporates by reference every other allegation of this Complaint

as if fully set forth herein.

        48.      The ADA/ADAAA prohibits discrimination against a person who has, is regarded

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as having, or has a record of a disability, i.e., a physical or mental impairment that substantially

limits one or more major life activities.

        49.     “Major life activities” as defined in the ADA/ADAAA include the operation of a

major bodily function, including but not limited to neurological and brain functions.

        50.     Plaintiff’s Huntington’s Disease constituted a physical and/or mental impairment

that substantially limited his major life activities, in that it affects Plaintiff’s brain cells, his

balance, ability to walk and affects Plaintiff’s ability to take care of himself.

        51.     Plaintiff’s Huntington’s Disease did not affect Plaintiff's ability to perform the

essential functions of his job, with or without reasonable accommodations.

        52.     Alternatively, because of Huntington’s Disease Plaintiff is being regarded as

having such a physical impairment and/or Plaintiff has a record of having such an impairment,

which with or without a reasonable accommodation does not interfere with Plaintiff performing

the essential functions of his job.

        53.     Plaintiff requested reasonable accommodations for his disability, and/or the need

for reasonable accommodations was obvious to Defendant.

        54.     Defendant engaged in conduct prohibited by the ADA/ADAAA, including but not

limited to: (i) informing Plaintiff that he could no longer perform the functions of a Service

Technician/ Driver for Defendant, despite Plaintiff’s DOT card and driver’s license being in

good standing and despite absence of any concerns or restrictions from his physician about his

ability to drive or operate equipment; (ii) failing to provide a requested reasonable

accommodation to Plaintiff of a warehouse job, (iii) failing to engaged in the interactive process

of finding another reasonable accommodation; and (iv) ultimately terminating Plaintiff

constituted discrimination against Plaintiff on the basis of his disability and/or record of



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disability and/or being regarded as having such a disability.

        55.    The conduct and actions by the above-described perpetrators, including but not

limited to Mr. Henley, were performed on the basis of Plaintiff’s disability and constitute

discrimination based on disability.

        56.    Plaintiff suffered tangible adverse employment actions as a result of Defendant’s

conduct as referenced herein, including but not limited to the termination of his employment.

        57.    The conduct of Defendant, described herein, would have detrimentally affected a

reasonable person in Plaintiff’s position.

        58.    Defendant’s unlawful conduct directly and proximately caused and will continue

to cause Plaintiff to suffer damages, including but not limited to lost wages and emotional

distress.

        59.    Defendant’s treatment of Plaintiff was punitive in nature and was based upon

Plaintiff’s status as a person who has, is regarded as having, or has a record of a physical and/or

mental impairment that substantially limits one or more major life activities.

        60.    Supervisory and management-level employees knew or should have known of the

discrimination, but failed to appropriately address the problem and further failed to implement

effective and appropriate procedures to stop discrimination against Plaintiff based on his

disability.

        61.    Defendant’s actions were outrageous and showed an evil motive or reckless

indifference or conscious disregard for the rights of Plaintiff and others. Therefore, Plaintiff is

entitled to punitive damages from Defendant to punish Defendant and to deter Defendant and

others from like conduct.

        WHEREFORE Plaintiff prays for judgment in his favor and against Defendant on Count



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II of his Complaint; for a finding that he has been subjected to unlawful discrimination as

prohibited by the ADA/ADAAA; for an award of compensatory and punitive damages; for

reinstatement or an award of back and front pay; for pre-judgment and post-judgment interest as

provided by law; for his costs expended herein; reasonable attorneys’ fees, as contemplated by

42 U.S.C. § 12205; and for such other and further relief as this Court deems just and proper.

                                      COUNT III
                  ADA/ADAAA – Retaliation in violation of 42 U.S.C. § 12203

        62.     Plaintiff hereby incorporates by reference every other allegation of this Complaint

as if fully set forth herein.

        63.     The ADA/ADAAA prohibits retaliation against an individual who has opposed

disability discrimination under the ADA/ADAAA.

        64.     Plaintiff engaged in the protected activity by requesting reasonable

accommodations and/or opposing discrimination based on his disability and/or perceived

disability and/or record of disability.

        65.     Plaintiff’s actions in requesting reasonable accommodations for his disability on

the basis of his disability and/or record of disability constituted protected activities under the

ADA/ADAAA.

        66.     As a result of Plaintiff’s protected activities, Defendant subjected Plaintiff to

adverse employment actions as alleged herein, including but not limited to terminating Plaintiff’s

employment.

        67.     Defendant’s retaliation against Plaintiff was intentional, willful, and malicious,

and constituted a willful violation of Plaintiff’s federally protected rights.

        68.     At the time Defendant retaliated against Plaintiff, Defendant knew that such

retaliation was unlawful.

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        69.     Defendant’s unlawful conduct directly and proximately caused and will continue

to cause Plaintiff to suffer damages, including but not limited to lost wages and emotional

distress.

        70.     Defendant’s actions were outrageous and showed an evil motive or reckless

indifference or conscious disregard for the rights of Plaintiff and others. Therefore, Plaintiff is

entitled to punitive damages from Defendant to punish Defendant and to deter Defendant and

others from like conduct.

        WHEREFORE Plaintiff prays for judgment in his favor and against Defendant on Count

III of his Complaint; for a finding that he has been subjected to unlawful retaliation as prohibited

by the ADA/ADAAA; for an award of compensatory and punitive damages; for reinstatement or

an award of back and front pay; for pre-judgment and post-judgment interest, as provided by

law; for his costs expended herein; reasonable attorneys’ fees, as contemplated by 42 U.S.C. §

12205; and for such other and further relief as this Court deems just and proper.

        Plaintiff requests a jury trial on all claims.

                                                         Respectfully submitted,

                                                         HOLMAN SCHIAVONE, LLC

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